Case 01-01139-AMC Doc 21752-1 Filed 05/19/09 Page 1of13

EXHIBIT A

LETTERS OF CREDIT AND
REIMBURSEMENT AGREEMENTS

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PAGE; 3,

DATE: OCTOBER 17, 2006
TRREVOCARLB STANDEY LETTER OF CREDIT NUMBER: Pagazag

BEMEFICIARY APPLICANT
NATIONAL UNION FIRE INSURANCE Co, WR, GRACH & CO, - ConN
OF BITTSEURGH, PA . 78090 GRACH DRIVE
AMBAICAN HONE ASSURANCE COMPANY COLUMBIA, MD 2la44
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COMPANY
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BIRMINGHAM FIRE INSURANCE COMPANY
OF PENNSYLVANIA .
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AMERICAN INTHRNATIONAL SOUTH -

INSURANCE COMPANY
NATIONAL UNION. FIRE INSURANCE Sa.

COMPANY OF LOUISIANA
AMERICAN INTERNATIONAL FACIFIC -

INSURANCE COMPANY :
GRANITE STATE INSURANCE COMPANY

NEW HAMPSHIRE INSURANCE COMPANY
LANDMARK INSURANCE COMPANY, “Oi mt

AND ANY OTHER AFFILIATE OF ANY OF
THESE, AS THEIR INTERESTS MAY
AFFEAR

P.O. BOX 933

WALL STREET STATION ~ -
NEW YORK, N.Y... 10248
ATIN: MR. ART STILLWELL

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Usd 10,429, 030.00
TEN MILLIow FOUR HUNDRED TRIRTY NINE
THOUEAND EIGHT HUNDRED THIRTY AND
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OCTORER 17, 2001 AT OUR COUNTERS

MOLLARS 40,435,830.00 (TEN MILLION FOUS HUNDRED THIRTY NINE THOUSAND

EIGHT HUNDRED THIRTY AND 00/100'S UNITES STarEs DOLLARS) BrrecTIve -
IMMEQTATELY, THIS LETTER OF CREDIT Is ESSUED, FRESENTARLE AND PAYABLE

AT OfR OFFICE AT 231 5, LASALLE STREET, CHICAGO, ILLINOIS 60697,

ATTENTION; STANDEY &/C DEPT., MAIL, CODE: Ib1-9731-17-00 AND BRPIRES

WITH OUR CLOSE OF BUSINESS ON OCTOBER 17, 2001. . ‘

THE TERM “SAWEFICrARY« INCLUDES ANY SUCCESSOR BY OPERATION OF LAW OF
THE NAMED BENEFICIARY, INCLUDING, WITHOUT WIMDTATION, any LIQUIDATOR,
REHARTILITATOR, RECGEIVER OR cONSERVATOR. .

WE HERESY. UNDERTAKE TO-PROMETLY HONOS VUE BEGH? BRAFT (5) DRAWN ON
OS, INDICATING OUR CREDIT NUMBER 7404289, FOR ANE OR ANY PART OF THIS
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EXCEPT AS EXPRHASLY ATATHD HEREIN, THIS UNDERTAKING TS NOT SUBJECT TO
ANY AGREEMENT, CONDITION OR QUALIFICATION. THE OBLIGATION OF HANK oF
AMERICA N.A. UNDER THIS LETTER OF CREDIT IS THE INDIVIDUAL OBLIGATION
OF BANK OF ANERICA N.A., AND Td IN NO WAY CONTINGENT UPON
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THE RESUMPTION OF BUSINESS.

Tf YOU REQUIRE ANY ASSISTANCE OR HAVE ARY QUESTIONS REGARDING THIS °

TRANSACTION, PLEASR CALL 312-826-7814

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BankofAmerica 2e* @

For Bank of Amcrica Use Only

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Application and Agreement for Standby'Letter of Credit UCNe.
TO; Bank of America, NA. ("Bank of Anterita)
A. Application. . . .
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2, Applicant Addvess: 7 3. For Account of (Name and address, if different from Applicat):
W.R. Grace & Go, - Gann
"7500 Grace Drive |
Columbia, MD 21044
410-537-4000
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4. Advising Bank; a §, In faver of (Beneficiary Name and Address):
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2. The signed stavemont ofce Begellelary
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— >> Attn: Michael J, McKenney
Fax: 704-386-1759

Fram: Dale J. Robertson PAGE: 1
Fan: 312-974-0142

DATE: JULY 31, 2000
IRREVOCABLE STANDBY LETTER OF CREDIT NUMBER: 7403968

BENEFICIARY APPLICANT
NATIONAL UNION FIRE INSURANCE CO. W.R. GRACE AND COMPANY
OF PITTSBURGH, PA 7500 GRACE DRIVE
DPMERICAN HOME ASSURANCE COMPANY COLUMBIA, MD 21044

THE INSURANCE COMPANY OF THE STATE

OF PENNSYLVANIA ~~

COMMERCE AND INDUSTRY
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- . COMPANY OF -LOUISTANA
: AMERICAN INTERNATIONAL PACIFIC

INSURANCE COMPANY

P.41/04

GRANTTH STATE INSURANCE COMPANY . Looe . St

NEW HAMPSHIRE INSURANCE COMPANY
- - BANDMARK INSURANCE. COMPANY

AND ANY OTHER AFFILIATE OF ANY OF

THESE, AS THEIR INTERESTS MAY - ' . . Ln ,
_ APPEAR . ‘ .

P.O. BOK 923 '

- WALL STREET STATION :
NEW YORK, NY 10263
ATIN: MR. ART STILLWELL

AMOUNT
Usp 2,199,900.00
TWO MILLION ONE HUNDRED NINETY
THOUSAND AND 90/100'S US DOLLARS

EXPIRATION
JULY 31, 2001 AT OUR COUNTERS

WE HEREBY ESTASLIGH THIS IRREVOCABLE LETTER OF CREDIT NO. 7403966 IN
FAVOR OF THE AFORESAID ADDRESSEE ("BENEFICIARY") FOR DRAWINGS UP TO
UNITED STATES DOLLARS USD.2,190,000.06 (TWO MILLION ONZ HUNDRED
NINETY THOUSAND AND NO/100 UNITED STATES DOLLARS) EFFECTIVE
IMMEDIATELY. THIS LETTER OF CREDIT IS ISSUED, PRESENTARLE AND PAYABLE
AT OUR OFFICE At 231 5. LASALLE STREET, CHICAGO, ILLINOIS 60697, MAIL
CODE: IU1-231-17-00 AND EXPIRES WITH OUR CLOSE OF BUSINESS ON JULY

31, 2001.

THE TERM. "BENEFICIARY" INCLUDES ANY SUCCESSOR BY OPERATION OF LAW OF
CLUDING, WITHOUT IWIMITATION, ANY LJOUIDATOR,

REHABILITATOR, RECEIVER OR CONSERVATOR.

WE HEREBY UNDERTAKE TO DULY HONOR YOUR SIGHT DRAFT(S) DRAWN ON 0s,
INDICATING OUR CREDIT NUMBER 7403968, FOR ALL OR ANY PART OF THIS
GREDIT IF PRESENTED AT OUR OFFICE SPECIFIED IN FARAGRAPH ONE ON OR

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all eda: (f.1-73f61 Fo : Cory
ZH A, raballes Mreet, (7h Flier. Chas, I, 6897

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OcT 27 2004 GaS@QO1FQ1ERQrAME aWae2h/52-17a Filese05/4 9409 0 Rage Zeaizkais

_ AMBRICA N.A. UNDER THIS LETTER OF CREDIT IS THE I

BankofAmerica “=~

PAGE: 2

CREDIT NUMBER: 7403366

THIS IS AN INTEGRAL PART OF LETTER OF

BEFORE THE EXPIRY DATB OR ANY AUTOMATICALLY BXTENDED EXFIRY DATE.

THYS UNDERTAKING IS NOT SUBJECT TO
OBLIGATION OF BANK OF
NDIVIDUAL OBLIGATION

OF BANK OF AMERICA N.A., AND 18 IN NO WAY CONTINGENT UPON
REIMBURSEMENT WITH RESPECT THERETO.
HALL BE DEEMED:

IT If A CONDITION OF THIS LETTER OF CREDIT THAT IT §
RUTOMATICALLY-EXTENDED WITHOUT AMENDMENT ~ FOR “ONE YBARCEROM ‘THE-ERFIRY
DATE HEREOF, OR ANY FUTURE EXDTRATION DATE, UNLESS AT LEAST THIRTY
DAYS PRIOR TO ANY EXPIRATION DATE WE NOTIFY YOU BY REGISTERED MAIL OR
COURTER THAT WE ELECT NoT To CONSIDER THIS LETTER OF CREDIT RENEWED
FOR ANY SUCH ADDITIONAL PERIOD. .

THIS LETTER OF CREDIT 13 SUBJECT TO AND GOVERNED BY THE LAWS OF THE
STATE OF NEW YORK, AND THE 1493 REVISION OF THE UNIFORM CUSTOMS AND
PRACTICE FOR DOCUMENTARY CREDITS OF THE INTERNATIONAL CHAMBER .OF
COMMERCE (PUBLICATION NO,
LAWS OF THE STATE OF NEW YORK WILL. CONTROL. IF -THIS
DURING AN INTERRUPTION. OF:
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PAYMENT IF THIS CREDIT 16 DRAWN AGAINST WITHIN. THIRT

“THE RESUMPTION OF BUSINESS.

EXCEPT AS EXPRESSLY STATED HEREIN,
ANY AGREEMENT, CONDITION OR QUALIFICATION. THE

EREHY SPECIFICALLY AGREES TO EFFECT . _:
y (30) DAYS -APTER

IF YOU REQUIRE ANY ASSISTANCE OR HAVE ANY QUESTIONS REGARDING THIS
TRANSACTION, PLEASE CALL 312-923-5985. oe Spel pwd OT,

AUTHORIZED SIGNATURE

THIS DOCUMENT CONSISTS OF 2 PAGE(S).

500) AND, IN THE BVENT OF ANY CONFLICT, THE
CREDIT EXPIRES. —-

BUSINESS AS DESCRIBED IN-:ARTICLE 17. OF SATB 0%...

P.42/84

Quis alamula.N.A Tride Gptralent
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BankofAmerica <p peed oowily f
, For Bank af America Use Only *

Application and Agreement far Standby Letter of Credit VENo. _-
TO: Bank of America, N.A. (“Baak of America) —t

A. Appligation.
Lh W.AL Green & Co. - Cann CApplicant”) requens Bank of America ta lesuc an frvevocablec standby lener of
Credit (“Latter af Credit”) as follows: To
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2 Applicant Address: ured ek 3. For Accouncof (Name and address, if different from Applicant):
WB, Grace & Co, - Cong.” _:
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Columbia, MD 21044
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oa
4, Advising Bank: Toe! 5, In favor of (Beneficiary Name and Address}:
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means of debiting Applicant's snsount with Bank of Arevica wet forth below, This autharzaion docs nor effeer the obligation of Applicant

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dehic the , ad uhis authorization does nor affect any #¢todY tights uf Bank ef Ameica at law or equity. Appileanr’s account number -
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4 Bank of Amecien's Address sctfarth inthe Letter 6f Gredli oh ue before: «ful 47,2007

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2. The sighed surement of the Ficheficiary worded as (allows (smuc wording thar is lo appearin the statameny accompanying the draft; Specify if
such wording must beexact: SEE s7T7TacHED

Bo Special fastructions:
++ also fax copy of fing! documents ta atin: Martin Hunter at fea 410-551-4461

2- part 6 of this Appilcation and Agreement for Stenday Letiar of Credit |» amanded by the attached “Rider to Application
and Agreement for Standby Letter of Gradit mage by W. A. Grace & Go. « Gonn."
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P.63/@4

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DEC 19 20@2 11:54 FR BANK OF AMERICA Sizg74gide To 917844990904 P.O2
a
BankofAmerica
DATE SEPTEMHER 16, 2002
AMENDMENT TO IRREVOCABLE DOCUMENTARY CREDIT NUMBER 07404163

BENEFICIARY APPLICANT
NATIONAL UNTON FIRE INSURANCE Co. ' WLR. GRACE AND CO. - CONN
OF PITTSBURGH, PA 7500 GRACE DRIVE
AMERICAN HOME ASSURANCE COMPANY COLUMBIA, MD 21044

THE INSURANCE COMPANY OF THE STATE

EXPIRY
SEPTEMBER 15, 2003
DEAR SIR(S),

THIS AMENDMENT IS TO BE CONSIDERED AS PART OF THE ABOVE LETTER OF CREDIT AND
MUST BE ATTACHED HERETO.

THE ABOVE NAMED LETTER OF CREDIT IS AMENDED AS FOLLOWS:

VALIDITY EXTENDED TO: SEPTEMBER 15, 2003
ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.

BANK OF AMERICA

FOR CASHIER FOR CASHIER

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BankofAmerica <>

PAGE: 1

DATE: SEPTEMBER 15, 2000
TRREVOCABLE STANDSY LETTER OF CREDIT NUMBER; 7404163 '
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BENEFICLARY . RPPLICANT
NATIONAL UNION FIRE INSURANCE CO. W.R. GRACE AND Co, - CONN
3500 GRACE DRIVE

OF PITTSBURGH, PA
AMERICAN HOME ASSURANCE COMPANY COLUMBIA, MD 21044 -

THE INSURANCH COMPANY OF THE STATE

OF PENNS YLVANTA

COMMERCE AND INDUSTRY INSURANCE

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INSURANCE COMPANY (0 PEST Doe co
GRANITE STATS INSURANCE COMPANY
NEW HAMPSHIRE INSURANCE COMPANY
LANDMARK INSURANCE COMPANY,

AND ANY OTHER AFFILIATES OF ANY OF
THESE, AS THEIR INTERESTS MAY.
APPEAR

B10. BOX 923

WALL STREET STATION

NEW YORK, N.Y. 10268
ATIN; MR..ART STILLWELL

Wsp 6, 000,000.00 te ‘ ‘
SIX MILLION AND 00/100'S Ue DOLLARS

EXPIRATION _
SEPTEMBER 15, 2001 AT OUR COUNTERS

WE HEREBY ESTABLISH THIG IRREVOCABLE LETTER OF CREDIT IN FAVOR OF THE
AFORESAID ADDRESSEE ("SENEFICIARY"} FOR
DOLLARS §,000,000.00 (SIX MILLION AND NO/100 UNITED STATES DOLLARS)
EPPECTIVE IMMEDIATELY. THIS LETTER OF CREDIT 16 I§SUED, FRESENTABLE
AND PAYABLE AT OUR OFFICE A? 231 8, LASALLE STREET,
60697, MAT“ CODE: TL1-232-17-00 AND EXPIRES WITH QUR CLOSE OF .
BUSINESS OM SEETEMBER 15, 2001.

THE TERM “RENEFICTARY" INCLUDES ANY SUCCESSOR BY OPERATION OF LAW OF
NAMED BENEFICIARY, INCLUDING, WITHOUT LIMITATION, ANY LIQUIDATOR,

THE
REHABLLITATOR, RECEIVER OR CONSERVATOR.

WE HEREBY UNDERTAKE TO PROMPTLY HONOR YOUR SIGHT DRAFT(S) DRAWN on
1S, INDICATING OUR CREDIT NUMBER 7404263, FOR ALL OR ANY paART OF THIS
CREDIT TF PRESENTED AT OUR OFFICE SPECIFIED IN PARAGRAPH ONE ON OR
BEFORE THE EXPIRY DATE OR ANY AUTOMATICALLY EXTENDED EXPIRY DATE.

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